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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                   CASE NUMBER: 4:15CR3101-001
                      Plaintiff,
       vs.                                         USM Number: 27483-047
                                                   RANDALL L. WERTZ
JOSE GONZALEZ-LEGARDA
                                                   DEFENDANT’S ATTORNEY
                      Defendant.


                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Superseding Indictment on 05/10/2016.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):

      Title, Section & Nature of Offense           Date Offense Concluded        Count Number

21:841(a)(1) and 841(b)(1) Possession with             September 7, 2015                1s
the intent to distribute Methamphetamine

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count II of the Superseding Indictment and the Indictment are dismissed on the motion of the
United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                            Date of Imposition of Sentence:
                                                            August 4, 2016

                                                            Richard G. Kopf
                                                            Senior United States District Judge

                                                            August 4, 2016
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                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 57 months.

The Court makes the following recommendations to the Bureau of Prisons:

   1. That the defendant receive credit for time served commencing on 09/25/2015.

   2. That the defendant be placed in a federal facility in Texas so that his family may visit.


The defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                            _____________________________
                                                                  Signature of Defendant

                                               RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                            _____________________________
                                                                  UNITED STATES WARDEN

                                                            BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                            _____________________________
                                                                  UNITED STATES WARDEN

                                                            BY: __________________________
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                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 2
years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as
well as with any additional conditions on the attached page.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer in a manner and frequency directed by
       the court or probation officer.
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his or her dependents and meet other family
       responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the
       probation officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase,
       possess, use, distribute, or administer any controlled substance or any paraphernalia
       related to any controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and
       shall not associate with any person convicted of a felony, unless granted permission to
       do so by the probation officer;
10.    The defendant shall permit a probation officer to visit him or her at any time at home or
       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The defendant shall notify the probation officer within seventy-two hours of being
       arrested or questioned by a law enforcement officer;
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12.    The defendant shall not enter into any agreement to act as an informer or a special
       agent of a law enforcement agency without the permission of the court;
13.    As directed by the probation officer, the defendant shall notify third parties of risks that
       may be occasioned by the defendant’s criminal record or personal history or
       characteristics and shall permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.

                         SPECIAL CONDITIONS OF SUPERVISION

1.     The defendant shall cooperate in the collection of DNA as directed by the probation
       officer, pursuant to 28 C.F.R. § 28.12, the DNA Fingerprint Act of 2005, and the Adam
       Walsh Child Protection and Safety Act of 2006, if such sample was not collected during
       imprisonment.

2.     Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of
       merely refraining from excessive use of alcohol, the defendant shall not purchase or
       possess, use, distribute, or administer any alcohol, just the same as any other narcotic
       or controlled substance.

3.     The defendant shall submit his or her person, residence, office, or vehicle to a search
       conducted by a United States Probation Officer at any time; failure to submit to a search
       may be grounds for revocation; the defendant shall warn any other residents that the
       premises may be subject to searches pursuant to this condition.

4.     The defendant shall attend, pay for and successfully complete any diagnostic
       evaluations, treatment or counseling programs, or approved support groups (e.g.,
       AA/NA) for alcohol and/or controlled substance abuse, as directed by the probation
       officer.

5.     The defendant shall provide the probation officer with access to any requested financial
       information.

6.     Pursuant to 18 U.S.C. § 3583(d), the defendant shall submit to a drug test within fifteen
       (15) days of release on supervised release and at least two (2) periodic drug tests
       thereafter to determine whether the defendant is using a controlled substance. Further,
       the defendant shall submit to such testing as requested by any probation officer to detect
       the presence of alcohol or controlled substances in the defendant's body fluids and to
       determine whether the defendant has used any of those substances. Based on the
       defendant's ability to pay, the defendant shall pay for the collection of urine samples to
       be tested for the presence of alcohol and/or controlled substances in an amount to be
       determined by the probation officer.

7.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
       District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall
       North, 530 U.S. Courthouse, Lincoln, Nebraska, (402)437-1920, within seventy-two (72)
       hours of release being placed on probation or release from confinement and, thereafter,
       as directed by the probation officer.
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                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

     Total Assessment                          Total Fine                Total Restitution

             $100

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                                 FINE
No fine imposed.
                                          RESTITUTION

No restitution imposed.
                                   SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322.
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The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.



CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
